     2:17-cv-10152-MFL-DRG       Doc # 14       Filed 04/14/17   Pg 1 of 3   Pg ID 65




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISON

CATHLEEN KENTALA,

             Plaintiff,                                 Case No. 17-cv-10152
                                                        Hon. Matthew F. Leitman
v.

MARY JANE M. ELLIOT, P.C.,

          Defendant.
__________________________________________________________________/

               STIPULATION TO DISMISS WITH PREJUDICE

      By agreement, the parties to the above-captioned action, by and through their

respective attorneys, state as follows:

      1.     Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

             the parties hereby stipulate and agree that the above-captioned action

             should be dismissed.

      2.     The parties, by agreement, respectfully request that this case be

             dismissed with prejudice and without costs to any party.




                                            1
     2:17-cv-10152-MFL-DRG   Doc # 14       Filed 04/14/17   Pg 2 of 3   Pg ID 66




For Plaintiff, Cathleen Kentala             For Defendant, Mary Jane M. Elliot,
                                            P.C.
/s David M. Marco
SMITHMARCO, P.C.                            /s with consent Brian C. Truba
55 W. Monroe Street, Suite 1200             Mary Jane M. Elliott, PC .
Chicago, IL 60603                           24300 Karim Blvd.
Telephone: (312) 546-6539                   Novi, MI 48375
Facsimile: (888) 418-1277                   Telephone: (248) 306-2014
E-mail:     dmarco@smithmarco.com           Facsimile: (248) 306-2014
                                            E-mail:     brian@mjelliott.com


Date:       April 14, 2017




                                        2
     2:17-cv-10152-MFL-DRG       Doc # 14       Filed 04/14/17   Pg 3 of 3   Pg ID 67




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISON

CATHLEEN KENTALA,

             Plaintiff,                                 Case No. 17-cv-10152
                                                        Hon. Matthew F. Leitman
v.

MARY JANE M. ELLIOT, P.C.,

          Defendant.
__________________________________________________________________/

                             ORDER OF DISMISSAL

      Pursuant to the stipulation to dismiss filed, this case is dismissed with prejudice,

without costs to either party.


                                        s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: April 14, 2017




                                            3
